Case 1:13-cv-03570-NGG-CLP Document 23 Filed 01/27/14 Page 1 of 1 PageID #: 70




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                                                                January 27, 2014


VIA ECF
Magistrate Judge Cheryl L. Pollak
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


       RE:    Index No. 1:13-cv-03570-NGG-CLP
              Pinson v. GC Services Limited Partnership


Dear Honorable Judge Pollak:

      I represent the plaintiff in the above referenced matter and am informing
the Court that the plaintiff has just accepted the defendant’s offer of
settlement. Therefore, the plaintiff requests that the Court provide that the
parties may seek to reopen the matter for forty-five days instead of thirty so
that the plaintiff can be assured that the funds clear my escrow account.

       Thank you for Your Honor’s time and attention to this matter.




                                                                Very truly yours,

                                                                /s/ Maxim Maximov

                                                                Maxim Maximov, Esq.
